     Case: 1:18-op-45432-DAP Doc #: 14 Filed: 07/23/18 1 of 2. PageID #: 608




                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION                          MDL No. 2804
OPIATE LITIGATION
                                                     Case No. 17-MD-2804
This document relates to:
                                                     Judge Dan Aaron Polster
Cleveland Bakers and Teamsters Health and
Welfare Fund, et al. v. Purdue Pharma, L.P.,
et al., Case No. 18-op-45432




           WALGREENS BOOTS ALLIANCE, INC’S MOTION TO DISMISS
                 FOR LACK OF PERSONAL JURISDICTION

       Pursuant to Fed. R. Civ. P. 12(b)(2), Defendant Walgreens Boots Alliance, Inc. moves to

dismiss Plaintiffs’ First Amended Complaint for lack of personal jurisdiction for the reasons set

forth in the accompanying Memorandum.

 Dated: July 23, 2018                            Respectfully submitted,


                                                 /s/ Kaspar J. Stoffelmayr
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      Case: 1:18-op-45432-DAP Doc #: 14 Filed: 07/23/18 2 of 2. PageID #: 609




                                CERTIFICATE OF SERVICE
       I hereby certify that, this 23rd day of July, 2018, I electronically filed a copy of the

foregoing with the Clerk of the Court using the ECF system, which sent notification of such filing

to all counsel of record.



                                                  /s/ Kaspar J. Stoffelmayr
                                                  Kaspar J. Stoffelmayr

                                                  Counsel for Walgreens Boots Alliance, Inc.




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